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                                  Affidavit of Jessica Abu-Hijleh

  In accordance with 28 U.S.C. § 1746, I, Jessica Abu-Hijleh, declare under the penalty of
   perjury of the laws of the United States of America, and state upon personal knowledge
                                              that:


  I am a full-time employee with America’s Frontline Doctors. My title is National
  Coordinator of Citizen Corps and I have worked full-time for AFLDS since the early
  summer of 2021 .lama Veteran and former Medic with the Army National Guard.

  Over the past few days, it has become increasingly difficult to perform my job duties due
  to continued distractions and harassment as I have been consistently harassed by Dr.
  Gold, her boyfriend and former employee John Strand, as well as other current and
  former employees who have been working at her behest. As part of my job duties, it is
  my responsibility to maintain multiple social media channels on behalf of AFLDS Citizen
  Corps, these include Telegram groups. Dr. Gold and her associates have been
  harassing me with texts, messages, voice messages, and phone calls demanding that I
  hand over passwords to the social media accounts so that they can take over access
  behind the Board’s back. I have taken a stance that I do not wish to be mixed into the
  drama and am waiting for this to process through the court system. In the meantime, I
  am not handing over the passwords to Gold or her associates and they have harassed
  me relentlessly as a result.

  John Strand has continued to send me strange text messages encouraging that I call
  him so that he can “provide [me] with some basic truth”. I have refused to speak with
  him, as I have repeatedly stated I do not wish to be in the middle of this nor do I wish to
  be further distracted from my job, but his texts continue.

 On November 7, 2022 Dr. Gold held a private zoom meeting for all employees she
 believes are under her control and invited me to the meeting. I explained that this
 current situation is causing me emotional distress and panic attacks and told her I would
 not be present for the meeting. Her responses via text was as follows: “Jess - I don’t
 accept this.” “You are stressed specifically be “you have not taken sides”. Just be on
 the side of righteousness - one month ago you knew the definition of righteous - now
 you are conflicted. Once you’re once again clear on what is righteous, all your stress
 goes away. John will call you later.”

 After I refused to join Dr. Gold’s meeting earlier that day, I continued on with my daily
 job duties of being active within our social media channels. Lisa Andrzejewski took
 notice of this and sent me the following text, “Jess, it’s my understanding per you, that
 you are taking a mental health week and couldn’t’ attend the meeting today. I am a bit
 confused as to why you are continuing to work? This is not benefit to your health status.
 Please take the time you need to address and care for your mental health.”
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  On Mondav. November 7, 2022, I held my weekly state leaders zoom meeting at 7pm.
 former empioyees Sarah Dennis, Lisa Andrzejewski, and Lisa Alexander were all in
  attendance. I presume to keep an eye on what we were telling the Citizen Crops
 members and to report back to Dr. Gold. Dr, Gold herself attempted to enter the
 meeting for over 15 minutes however I did not let her in from the zoom waiting. room.

 [-ormer emoioyee Lisa Alexander has asked me to provide her with the passwords to
the social media accounts that I manage and also to back up all of the AFLDS Citizen
Corps assets so that they can “continue working” in the event access was revoked to
the platforms.

Employee Mike Coudrey has been harassing me daily with disappearing voice and also
written messages stating that I need to provide him with all passwords to the accounts
that I manage. When I refuse to do so. he questions my sanity, my education (I have a
Masters in Biology), and accuses me of being a “rogue employee” for not following the
orders or Dr. Gold.

The harassment is daily, I am doing everything within my power to protect the AFLDS’
social media Dlatforms from being taken over by Dr. Gold and her associates, but it is
only a matter of time before they are able to find a way to take control of the platforms.
Additionally, it is incredibly stressful to work in such a hostile environment and it is
becomina increasinalv difficult to perforr mv iob

I swear the above is a true and accurate account of the communications and events that
nave transpired between myself and agents of Dr. Gold over the past days.
